Case 1:19-cv-22799-DPG Document 18 Entered on FLSD Docket 05/14/2020 Page 1 of 2



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                                          Plaintiff,

   V S.                                                       CaseNo.fv-v -ysyp
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                                          Defendantts)
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    pursuant to 28 U.S.C. g 1915 or nm otherwise unable to afford a lawyer.
   Therefore, I request that the Court refer m y request to the Court's Volunteer
   Attorney Program . I understand that it w ill be up to volunteer attorneys, not
   the C ourt, to determ ine w hether they w ish to represent m e. If a volu nteer
   attorney agrees to take m y representation,Iw illcooperate w ith that cou nselin
   the preparation and presentation of m y case.

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